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                                             UNITED STATES DISTRICT COURT
                                     FOR THE SOpTHERN DISTRICT OF NEW YORK
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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - \ -.-~£~--A
MARK I. SOKOLOW, individually and as natural guardian : ,_
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                                                                                                                                                                                                 . .



of plaintiff Jamie A. Sokolow, RENA M. SOKOLOW,                                                                                                                                   1

individually and as natural guardian of plaintiff Jamie A.
Sokolow, JAMIE A. SOKOLOW, minor, by her next friends
and guardians Mark I. Sokolow and Rena M. Sokolow,
LAUREN M. SOKOLOW, ELANA R. SOKOLOW,
                                                                :
                                                                :
                                                                                                                       4-
SHAYNA EILEEN GOULD, RONALD ALLAN GOULD, :
ELISE JANET GOULD, JESSICA RINE, SHMUEL
WALDMAN, HENNA NOVACK WALDMAN,
MORRIS WALDMAN, EVA WALDMAN,
DR. ALAN J. BAUER, individually and as natural                                                                                    COMPLAINT                                  r·       ~


guardian of plaintiffs Yehonathon Bauer, Binyamin Bauer,
Daniel Bauer and Yehuda Bauer, REVITALBAUER,
                                                                                                                                                                                                   ·&
individually and as natural guardian of plaintiffs Yehonathon
Bauer, Binyamin Bauer, Daniel Bauer and Yehuda Bauer,                                                                                                                                 '·
YEHONATHON BAUER, minor, by his next friends and                                                                                                                                                       •...J
guardians Dr. Alan J. Bauer and Revital Bauer, BINYAMIN
BAUER, minor, by his next friends and guardians Dr. Alan J.
                                                                                                                                                                                           r~)
Bauer and Revital Bauer, DANIEL BAUER, minor, by his
next friends and guardians Dr. Alan J. Bauer and Revital Bauer, :
YEHUDA BAUER, minor, by his next friends and guardians
Dr. Alan J. Bauer and Revital Bauer, RABBI LEONARD
MANDELKORN, SHAUL MANDELKORN, NURIT
MANDELKORN, OZ JOSEPH GUETTA, minor, by his
next friend and guardian Varda Guetta and V ARDA
GUETTA, individually and as natural guardian ofplaintiff
Oz Joseph Guetta,

                                                                                      Plaintiffs,

                             -against-

UIE PALE STINE LIBERATION ORGANIZATION,
THE PALESTINIAN AUTHORITY (a/k/a "The
Palestinian Interim Self-Government Authority" and/or
"The Palestinian Council" and/or "The Palestinian
National Authority"), YASSER ARAFAT, MARWAN
BIN KHATIB BARGHOUTI, AHMED T ALEB
MUSTAPHABARGHOUTI (a/k/a "AL-FARANSf'),
NASSER MAHMOUD AHMED A WEIS, MAJID
AL-MASRI (a/k/a "ABU MOJAHED"), MAHMOUD
AL-TITI, MOHAMMED ABDEL RAHMAN SALAM
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      MASALAH (a/k/a "ABU SATKHAH"), FARAS SADAK
      MOHAMMED GHANEM (a/k/a "HITAWI"),
      MOHAMMED SAMI IBRAHIM ABDULLAH,
      ESTATE OF SAID RAMADAN, deceased, ABDEL
      KARIMRATAB YUNIS AWEIS, NASSER JAMAL
      MOUSA SHAWISH, TOUFIK TIRA WI, HUSSEIN
      AL-SHAYKH, SANA' A MUHAMMED SHEHADEH,
      KAIRA SAID ALI SADI, ESTATE OF MOHAMMED
      HASHAIKA, deceased, MUNZAR MAHMOUD KHALIL :
      NOOR, ESTATE OF WAFA IDRIS, deceased, ESTATE
      OF MAZAN FARITACH, deceased, ESTATE OF
      MUHANAD ABU HALA WA, deceased and
      JOHN DOES 1-99,

                                              Defendants.
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                                            INTRODUCTION

              1.      This action is brought pursuant to the Antiterrorism Act, 18 U.S.C. §2331

      et. seq., and supplemental causes of action, by United States citizens and the guardians

      and family members of United States citizens, who were injured in a series of terrorist

      attacks carried out by defendants between January 8, 2001 and June 19, 2002, in or near

      Jerusalem, Israel.

                                    JURISDICTION AND VENUE

              2.      This Court has jurisdiction over this matter and over defendants pursuant

      to 18 U.S.C. §§2333 and 2334 and the rules of supplemental jurisdiction.

              3.      The Southern District of New York is the proper venue for this action

      pursuant to 18 U.S.C. §2334(a) since defendant Palestine Liberation Organization

      maintains an office and agent in this district and is resident in this district.




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                                    THE PARTIES

       4.     Plaintiff MARK I. SOKOLOW was severely harmed by a terrorist

bombing planned and carried out by defendants on January 27, 2002, in Jerusalem, Israel

(hereinafter: "the January 27, 2002 bombing"), and is, and at all times relevant hereto

was, an American citizen. Plaintiff MARK I. SOKOLOW brings this action individually

and on behalf of his minor daughter, plaintiff JAMIE A. SOKOLOW.

       5.     Plaintiff RENA M. SOKOLOW was severely harmed by the January 27,

2002 bombing, and is, and at all times relevant hereto was, an American citizen. Plaintiff

RENA M. SOKOLOW brings this action individually and on behalf of her minor

daughter, plaintiff JAMIE A. SOKOLOW.

       6.     Plaintiff JAMIE A. SOKOLOW, was severely harmed by the January 27,

2002 bombing, and is, and at all times relevant hereto was, an American citizen and the

minor daughter of plaintiffs MARK I. SOKOLOW and RENA M. SOKOLOW and the

sister of plaintiffs LAUREN M. SOKOLOW and ELANA R. SOKOLOW.

       7.     Plaintiff LAUREN M. SOKOLOW was severely harmed by the January

27, 2002 bombing, and is, and at all times relevant hereto was, an American citizen and

the daughter of plaintiffs MARK I. SOKOLOW and RENA M. SOKOLOW and the sister

of plaintiffs ELANA R. SOKOLOW and JAMIE A. SOKOLOW.

       8.     Plaintiff ELANA R. SOKOLOW was severely harmed by the January 27,

2002 bombing, and is, and at all times relevant hereto was, an American citizen and the

daughter of plaintiffs MARK I. SOKOLOW and RENA M. SOKOLOW and the sister of

plaintiffs LAUREN M. SOKOLOW and JAMIE A. SOKOLOW.




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       9.      Plaintiff SHA YNA EILEEN GOULD (hereinafter: "SHAYNA GOULD")

was severely harmed by a terrorist shooting attack planned and carried out by defendants

on January 22, 2002, in Jerusalem, Israel (hereinafter: "the January 22, 2002 shooting

attack"), and is, and at all times relevant hereto was. an American citizen.

       10.     Plaintiff RONALD ALLAN GOULD (hereinafter: "RONALD GOULD")

was severely ham1ed by the January 22, 2002 shooting attack and is, and at all times

relevant hereto was, an American citizen and the father of plaintiff SHAYNA GOULD.

       11.     Plaintiff ELISE JANET GOULD            (hereinafter: "ELISE GOULD") was

severely ham1ed by the January 22, 2002 shooting attack and is, and at all times relevant

hereto was, an American citizen and the mother of plaintiff SHAYNA GOULD.

       12.     Plaintiff JESSICA RINE was severely harmed by the January 22, 2002

shooting attack and is, and at all times relevant hereto was, an American citizen and the

sister of plaintiff SHA YNA GOULD.

       13.     Plaintiff SHMUEL WALDMAN was severely harmed by the January 22,

2002 shooting attack and is, and at all times relevant hereto was, an American citizen.

       14.     Plaintiff HENNA NOVACK WALDMAN                       (hereinafter: "HENNA

WALDMAN") was severely harmed by the January 22, 2002 shooting attack and is, and

at all times relevant hereto was, an American citizen and the wife of plaintiff SHMUEL

WALDMAN.

       15.     Plaintiff MORRIS WALDMAN was severely harmed by the January 22,

2002 shooting attack and is, and at all times relevant hereto was, an American citizen and

the father of plaintiff SHMUEL WALDMAN.




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       16.    Plaintiff EVA WALDMAN was severely harmed by the January 22,2002

shooting attack and is, and at all times relevant hereto was, an American citizen and the

mother of plaintiff SHMUEL WALDMAN.

       17.    Plaintiff DR. ALAN J. BAUER was severely harmed by a terrorist

bombing planned and carried out by defendants on March 21, 2002, in Jerusalem, Israel

("the March 21, 2002 bombing"), and is, and at all times relevant hereto was, an

American citizen. Plaintiff DR. ALAN J. BAUER brings this action individually and on

behalf of his minor children, plaintiffs YEHONATHON BAUER, BINYAMIN BAUER,

DANIEL BAUER and YEHUDA BAUER.

       18.    Plaintiff REVITAL BAUER was severely harmed by the March 21, 2002

bombing, and is, and at all times relevant hereto was, the wife of plaintiff DR. ALAN J.

BAUER. PlaintiffREVITAL BAUER brings this action individually and on behalf of her

minor children, plaintiffs YEHONATHON BAUER, BINYAMIN BAUER, DANIEL

BAUER and YEHUDA BAUER.

       19.    PlaintiffYEHONATHON BAUER was severely harmed by the March 21,

2002 bombing, and is, and at all times relevant hereto was, an American citizen and the

minor son of plaintiffs DR. ALAN J. BAUER and REVITAL BAUER.

       20.    Plaintiff BINYAMIN BAUER was severely harmed by the March 21,

2002 bombing, and is, and at all times relevant hereto was, an American citizen and the

minor son of plaintiffs DR. ALAN J. BAUER and REVITAL BAUER.

       21.    Plaintiff DANIEL BAUER was severely harmed by the March 21, 2002

bombing, and is, and at all times relevant hereto was, an American citizen and the minor

son of plaintiffs DR. ALAN J. BAUER and REVITAL BAUER.



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       22.    Plaintiff YEHUDA BAUER was severely ham1ed by the March 21, 2002

bombing, and is, and at all times relevant hereto was, an American citizen and the minor

son ofplaintiffs DR. ALAN J. BAUER and REVITAL BAUER.

       23.    Plaintiff RABBI LEONARD MANDELKORN was severely harmed by a

terrorist bombing planned and carried out by defendants on June 19, 2002, in Jerusalem,

Israel ("the June 19, 2002 bombing"), and is, and at all times relevant hereto was, an

American citizen and the father of plaintiff SHAUL MANDELKORN.

       24.    Plaintiff SHAUL MANDELKORN was severely harmed by the June 19,

2002 bombing, and is, and at all times relevant hereto was, the son of plaintiffs RABBI

LEONARD MANDELKORN and NURIT MANDELKORN.

       25.    Plaintiff NURIT MANDELKORN was severely harmed by the June 19,

2002 bombing, and is, and at all times relevant hereto was, the mother of plaintiff

SHAUL MANDELKORN.

       26.    Plaintiff OZ JOSEPH GUETT A (hereinafter: "JOSEPH GUETTA") was

severely harmed by a terrorist shooting attack planned and carried out by defendants on

January 8, 2001, near Jerusalem, Israel ("the January 8, 2001 shooting attack"), and is,

and at all times relevant hereto was, an American citizen and the minor son of plaintiff

VARDA GUETTA.

       27.    PlaintiffVARDA GUETTA was severely harmed by the January 8, 2001

shooting attack, and is, and at all times relevant hereto was, the mother of plaintiff

JOSEPH GUETTA. Plaintiff VARDA GUETT A brings this action individually and on

behalfofherminor son JOSEPH GUETTA.




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        35.    Defendant MAHMOUD AL-TITI (hereinafter "AL-TITI") is, and at all

times relevant hereto was, an employee and agent of defendants PLO, PA, ARAFAT and

MARWAN BARGHOUTI.

        36.    Defendant MOHAMMED ABDEL RAHMAN SALAM MASALAH,

alk/a "ABU SATKHAH," (hereinafter "MASALAH") is, and at all times relevant hereto

was, an employee and agent of defendants PLO, PA, ARAFAT and MARWAN

BARGHOUTI.

       37.     Defendant FARAS SADAK MOHAMMED GHANEM, alk/a "HITAWI,"

(hereinafter "GHANEM") is, and at all times relevant hereto was, an employee and agent

of defendants PLO, PA, ARAFAT and MARWAN BARGHOUTI.

       38.     Defendant MOHAMMED SAMI IBRAHIM ABDULLAH (hereinafter

"ABDULLAH") is, and at all times relevant hereto was, an employee and agent of

defendants PLO, PA, ARAFAT and MARWAN BARGHOUTI.

       39.     Defendant ESTATE OF SAID RAMADAN, is the estate of SAID

RAMADAN, deceased (hereinafter "RAMADAN"), who personally carried out and was

killed during the course of the January 22, 2002 shooting, and at all times relevant hereto,

was an employee and agent of defendants PLO, PA, ARAFAT and MARWAN

BARGHOUTI.

       40.     Defendant ABDEL KARIM RATAB YUNIS AWEIS (hereinafter

"ABDEL A WEIS") is, and at all times relevant hereto was, an employee and agent of

defendants PLO, PA, ARAFAT and MARWAN BARGHOUTI.




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       28.     Defendant     THE     PALESTINE        LIBERATION         ORGANIZATION

(hereinafter "PLO") is and at all times relevant hereto was, a legal person as defined in 18

u.s.c. §2331(3).
       29.     Defendant THE PALESTINIAN AUTHORITY, also known as The

Palestinian Interim Self-Government Authority and/or The Palestinian National Authority

and/or The Palestinian Council (hereinafter "PA") is and at all times relevant hereto was,

a legal person as defined in 18 U.S.C. §2331 (3).

       30.     Defendant YASSER ARAFAT (hereinafter "ARAFAT") is, and at all

times relevant hereto was, chairman of defendant PLO and leader of defendant PA, and

an employee and agent of defendants PLO and PA.

       31.     Defendant    MARWAN         BIN      KHATIB     BARGHOUTI        (hereinafter

"MARWAN BARGHOUTf') is, and at all times relevant hereto was, an employee and

agent of defendants PLO, PA and ARAFAT.

       32.     Defendant AHMED TALEB MUSTAPHA BARGHOUTI, a/k/a "AL-

p ARANSI," (hereinafter "AHMED BARGHOUTf') is, and at all times relevant hereto

was, an employee and agent of defendants PLO, PA, ARAFAT and MARWAN

BARGHOUTI.

       33.     Defendant    NASSER       MAHMOUD         AHMED       AWEIS      (hereinafter

"NASSER AWEIS") is, and at all times relevant hereto was, an employee and agent of

defendants PLO, PA, ARAFAT and MARWAN BARGHOUTI.

       34.     Defendant MAJID AL-MASRI, a/k/a "ABU MOJAHED" (hereinafter

"AL-MASRI'') is, and at all times relevant hereto was, an employee and agent of

defendants PLO, PA, ARAFAT and MARWAN BARGHOUTI.



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       41.     Defendant    NASSER       JAMAL      MOUSA       SHAWISH       (hereinafter

"SHA WISH") is, and at all times relevant hereto was, an employee and agent of

defendants PLO, PA, ARAFAT and MARWAN BARGHOUTI.

       42.     Defendant TOUFIK TIRAWI (hereinafter "TIRAWI") is, and at all times

relevant hereto was, an employee and agent of defendants PLO, PA and ARAF AT.

       43.     Defendant HUSSEIN AL-SHAYKH (hereinafter "AL-SHAYKH") is, and

at all times relevant hereto was, an employee and agent of defendants PLO, PA and

ARAFAT.

       44.     Defendant     SANA' A      MUHAMMED           SHEHADEH         (hereinafter

"SHEHADEH") is, and at all times relevant hereto was, an employee and agent of

defendants PLO, PA, ARAFAT andMARWANBARGHOUTI.

       45.     Defendant KAIRA SAID ALI SADI (hereinafter "SADI") is, and at all

times relevant hereto was, an employee and agent of defendants PLO, PA, ARAF AT and

MARWAN BARGHOUTI.

       46.     Defendant ESTATE OF MOHAMMED HASHAIKA, is the estate of

MOHAMMED HASHAIKA, deceased (hereinafter "HASHAIKA"), who personally

carried out and was killed in the March 21, 2002 bombing, and at all times relevant hereto

was an employee and agent of defendants PLO, PA, ARAFAT and MARWAN

B'ARGHOUTI.

       47.    Defendant    MUNZAR MAHMOUD                KHALIL      NOOR     (hereinafter

"NOOR") is, and at all times relevant hereto was, an employee and agent of defendants

PLO, PA, ARAFAT and MARWAN BARGHOUTI.

       48.    Defendant ESTATE OF WAFA IDRIS, is the estate of WAFA IDRIS,



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 deceased (hereinafter "IDRIS"), who personally carried out and was killed in the January

 27, 2002 bombing, and at all times relevant hereto was an employee and agent of

defendants PLO, PA, ARAFAT and MARWAN BARGHOUTI.

        49.    Defendant ESTATE OF MAZAN FARITACH, is the estate of MAZAN

FARITACH, deceased (hereinafter "FARIT ACH"), who at all times relevant hereto, was

an employee and agent of defendants PLO, PA, ARAFAT and MARWAN

BARGHOUTI.

        50.    Defendant ESTATE OF MUHANAD ABU HALAW A, is the estate of

MUHANAD ABU HALA W A, deceased (hereinafter "ABU HALAWA"), who

personally carried out the January 8, 2001 shooting, and at all times relevant hereto was

an employee and agent of defendants PLO, PA, ARAFAT and MARWAN

BARGHOUTI.

        51.    Defendants JOHN DOES 1-99 are natural and/or juridical persons

who/which are organs and/or agencies and/or instrumentalities and/or alter egos and/or

agents and/or employees and/or co-conspirators of the other defendants.        Defendants

JOHN DOES 1-99 conspired, agreed and acted in concert with the other defendants to

plan and carry out the terrorist attacks described herein, and planned and carried out the

terrorist attacks described herein in concert and agreement with the other defendants,

afld/or pursuant to the directives, instructions, authorization, solicitation and/or

inducement of the other defendants and/or with substantial aid, assistance and/or material

support and resources provided for that purpose by the other defendants.




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                               STATEMENT OF FACTS

       52.     Since its establishment in the 1960s and until the present day, defendant

PLO has funded, planned and carried out thousands of terrorist bombings and shootings,

resulting in the deaths of hundreds of innocent civilians and the wounding of thousands

more. Dozens of United States citizens have been murdered, and scores more wounded,

by terrorist attacks carried out by defendant PLO. At all times relevant hereto, the PLO

has carried out and utilized these terrorist attacks as an established and systematic policy

and practice, as a means of advancing and achieving its political goals.

       53.     Since its establishment in 1994 and until the present day, defendant PA

has planned and carried out hundreds of terrorist bombings and shootings, resulting in the

deaths of hundreds of civilians and the wounding of thousands more. Several United

States citizens have been murdered, and many more wounded, by terrorist attacks carried

out by defendant PA. At all times relevant hereto, the PA has carried out and utilized

these terrorist attacks as an established and systematic policy and practice, as a means of

advancing and achieving its political goals.

       54.     At all times relevant hereto, defendants PLO and PA planned and carried

out terrorist attacks against civilians through their officials, agents and employees. These

officials, agents and employees were and are organized into various specially-trained

utJ.its and cells, which plan and execute terrorist attacks on behalf of and for the PLO and

PA. These terrorist units and cells are agents, instrumentalities, .agencies, organs and/or

alter egos of defendants PLO and PA, and are wholly funded and controlled by

defendants PLO and PA (collectively hereinafter: "terrorist units"). The terrorist units of

the PLO and PA which at all times relevant hereto planned and carried out terrorist



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attacks on behalf of and for the PLO and PA, include, without limitation, those known as

"Fatah," "Tanzim," "Fatah-Tanzim," "AI Aqsa Brigades," and "Martyrs of AI Aqsa."

        55.     At all times relevant hereto, defendants PLO and PA, their terrorist units

including without limitation "Fatah," "Tanzim," "Fatah-Tanzim," "AI Aqsa Brigades,"

and "Martyrs of AI Aqsa," and their officials, agents and employees including the other

defendants herein, agreed and conspired with one another to carry out acts of international

terrorism (within the meaning of 18 U.S.C. §2331 ), and knowingly aided, abetted, funded

and provided a wide range of weapons and other substantial material support and

resources to one another for the execution of acts of international terrorism, all with the

specific intention of funding, causing and facilitating the commission of acts of

international terrorism.

        56.     On an unknown date prior to January 8, 2001, defendants PLO and PA

authorized, ordered, instructed, solicited and directed their terrorist units, including

without limitation "Fatah," "Tanzim," "Fatah-Tanzim," "AI Aqsa Brigades," and

"Martyrs of AI Aqsa," and their officials, agents and employees including the other

defendants herein, to organize, plan and execute a series of terrorist attacks against

civilians in Israel and the West Bank. Defendants did so with actual knowledge that their

previous terrorist attacks had killed and injured numerous U.S. citizens, and that

additional U.S. citizens and other innocent civilians would be killed and injured as a

result of further such acts of terrorism.

                             The Shooting Attack on Januarv 8. 2001

       57.     At an unknown date or dates prior to January 8, 2001, acting pursuant to

the authorization, instructions, solicitation and directives of defendants PLO, PA,



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ARAFAT and MARWAN BARGHOUTI and within the scope of their agency and

employment, defendants ABU HALAWA and several of JOHN DOES 1-99 jointly

planned, agreed, conspired and made preparations to murder and injure innocent persons

by means of a machine-gun attack on a civilian vehicle traveling on the roads near

Jerusalem, Israel.

        58.     Accordingly, on January 8, 2001, defendant ABU HALAWA and three of

the JOHN DOE defendants traveled by car to the area of Givon Junction near Jerusalem,

in order to carry out the machine-gun attack.

        59.     At approximately 7:00 PM on January 8, 2001, defendant ABU

HALAWA and the three JOHN DOE defendants with him opened machine-gun fire on a

passenger car in which plaintiffs JOSEPH GUETTA and VARDA GUETTA were

traveling near Givon Junction, with the intention of murdering or injuring plaintiffs

JOSEPH GUETTA and VARDA GUETTA.

        60.     Plaintiff JOSEPH GUETTA, then 12 years old, was struck by several

machine-gun bullets fired by defendants, as a direct and proximate result of which he

suffered severe physical, emotional, mental and economic harm and injuries.

        61.     Plaintiff VARDA GUETTA, who was driving the car, suffered severe

emotional, mental and economic harm and injuries as a direct and proximate result of the

Il'lachine-gun attack.

        62.     The shooting attack on January 8, 2001 was planned and carried out by

defendant ABU HALAWA and the JOHN DOE defendants acting as agents and

employees of the PLO and PA and within the scope of their agency and employment,

pursuant to the prior authorization, instructions, solicitation and directives of defendants


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PLO and P A, in furtherance of the goals and policies of defendants PLO and PA, and

using funds, weapons, means of transportation and communication and other material

support and resources supplied by defendants PLO and PA for the express purpose of

carrying out this attack and terrorist attacks of this type. Defendants PLO and PA

conspired, agreed and acted in concert with the other defendants to carry out the January

8, 2001 terrorist shooting, aided and abetted the other defendants to carry out that

shooting, and authorized, ratified and participated in that shooting.

                           The Shooting Attack on Januarv 22. 2002

       63.     At an unknown date or dates prior to January 22, 2002, acting pursuant to

the authorization, instructions, solicitation and directives of defendants PLO, PA,

ARAFAT and MARWAN BARGHOUTI, and within the scope of their agency and

employment, defendants AHMED BARGHOUTI, NASSER AWEIS, AL-MASRI, AL-

TITI, MASALAH, GHANEM, ABDULLAH, RAMADAN and several of JOHN DOES

1-99 jointly planned, agreed, conspired and made preparations to murder and injure

innocent persons by means of a machine-gun attack on innocent passersby in downtown

Jerusalem, Israel.

       64.     Accordingly, on January 22, 2002, at approximately 4:15 PM,

RAMADAN arrived at Jaffa Street near the comer of Rav Kook St. in downtown

Jerusalem, in order to murder and injure innocent passersby by means of an M-16

machine-gun with which he was provided for this specific purpose by the other

defendants.

       65.     At approximately 4:20 PM on January 22, 2002, RAMADAN shouted

"Allahu Akbar" ("God is great"), and opened fire with the M-16 machine-gun on scores



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of innocent passerby on Jaffa Street and Rav Kook St., with the intention of murdering or

injuring as many as possible.

       66.     Two elderly women were killed in the January 22, 2002 shooting attack,

and over 45 innocent passersby were shot or suffered other physical injuries in the attack.

       67.     Among those shot and wounded in the January 22, 2002 shooting attack

were plaintiffs SHAYNA GOULD and SHMUEL WALDMAN.

       68.     Plaintiffs SHAYNA GOULD and SHMUEL WALDMAN suffered severe

physical, emotional, mental and economic harm and injuries as a direct and proximate

result of the January 22, 2002 shooting attack.

       69.     Plaintiffs RONALD GOULD, ELISE GOULD, JESSICA RINE, HENNA

WALDMAN, MORRIS WALDMAN and EVA WALDMAN suffered severe emotional,

mental and economic harm and injuries as a direct and proximate result of the January 22,

2002 shooting attack.

       70.     The shooting attack on January 22, 2002 was planned and carried out by

defendants   AHMED       BARGHOUTI,        NASSER       AWEIS,     AL-MASRI,      AL-TITI,

MASALAH, GHANEM, ABDULLAH, RAMADAN and the JOHN DOE defendants

acting as agents and employees of the PLO and P A and within the scope of their agency

and employment, pursuant to the prior authorization, instructions, solicitation and

directives of defendants PLO and PA, in furtherance of the goals and policies of

defendants PLO and P A, and using funds, weapons, mean~ of transportation and

communication and other material support and resources supplied by defendants PLO and

PA for the express purpose of carrying out this attack and terrorist attacks of this type.

Defendants PLO and P A agreed, conspired and acted in concert with the other defendants



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to carry out the January 22, 2002 terrorist shooting, aided and abetted the other

defendants to carry out that shooting, and authorized, ratified and participated in that

shooting.

                            The Bombing Attack on Januarv 27,2002

        71.    At an unknown date or dates prior to January 27, 2002, acting pursuant to

the authorization, instructions, solicitation and directives of defendants PLO, PA,

ARAFAT and MARWAN BARGHOUTI, and within the scope of their agency and

employment, defendants NOOR, IDRIS and several of JOHN DOES 1-99 jointly

planned, agreed, conspired and made preparations to murder and injure innocent persons

by means of a bombing attack on innocent passersby in downtown Jerusalem, Israel.

        72.    Accordingly, on January 27, 2002, at midday, IDRIS arrived at Jaffa St. in

downtown Jerusalem, in order to murder and injure innocent passersby by means of a

powerful explosive device with which she was provided for this specific purpose by the

other defendants. IDRIS detonated the explosive device shortly before 12:30 P.M.,

causing a massive explosion.

        73.    An 81 year-old man was killed in the explosion and over 150 persons were

wounded.

        74.    Plaintiffs MARK I. SOKOLOW, RENA M. SOKOLOW, JAMIE A.

SOKOLOW and LAUREN M. SOKOLOW, who were present on Jaffa St. at the time of

the explosion and in close proximity to IDRIS, suffered severe bums, shrapnel wounds,

fractures and other serious injuries as a result of the explosion.

       75.     Plaintiffs MARK I. SOKOLOW, RENA M. SOKOLOW, JAMIE A.

SOKOLOW and LAUREN M. SOKOLOW suffered severe physical, emotional, mental



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and economic harm and injuries as a direct and proximate result of the January 27, 2002

bombing attack.

       76.     Plaintiff ELANA R. SOKOLOW suffered severe emotional, mental and

economic harm and injuries as a direct and proximate result of the January 27, 2002

bombing attack.

       77.     The bombing attack on January 27, 2002 was planned and carried out by

defendants NOOR, IDRIS and the JOHN DOE defendants acting as agents and

employees of the PLO and PA and within the scope of their agency and employment,

pursuant to the prior authorization, instructions, solicitation and directives of defendants

PLO and PA, in furtherance of the goals and policies of defendants PLO and PA, and

using funds, weapons, means of transportation and communication and other material

support and resources supplied by defendants PLO and PA for the express purpose of

carrying out this attack and terrorist attacks of this type. Defendants PLO and PA agreed,

conspired and acted in concert with the other defendants to carry out the January 27, 2002

terrorist bombing, aided and abetted the other defendants to carry out that shooting, and

authorized, ratified and participated in that bombing.

                            The Bombing Attack on March 21, 2002

       78.     At an unknown date or dates prior to March 21, 2002, acting pursuant to

the authorization, instructions, solicitation and directives of defendants PLO, PA,

ARAFAT and MARWAN BARGHOUTI, and within the scope of their agency and

employment, defendants ABDEL A WEIS, SHAWISH, TIRAWI, AL-SHAYKH,

SHEHADEH, SADI, HASHAIKA and several of JOHN DOES 1-99 jointly planned,




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agreed, conspired and made preparations to murder and injure innocent persons by means

of a bombing attack on innocent passersby in downtown Jerusalem, Israel.

       79.     Accordingly, on March 21, 2002, at approximately 4:15PM, HASHAIKA

arrived at King George Street in downtown Jerusalem, in order to murder and injure

innocent passersby by means of a powerful explosive device with which he was provided

for this specific purpose by the other defendants. HASHAIKA detonated the explosive at

approximately 4:20 PM, causing a massive explosion.

       80.     Three innocent passersby were killed in the explosion and over 80 more

were wounded.

       81.     Plaintiffs DR. ALAN J. BAUER and YEHONATHON BAUER, who

were present on King George St. at the time of the explosion and in close proximity to

HASHAIKA, suffered severe burns, shrapnel wounds, fractures and other serious injuries

as a result of the explosion.

       82.     Plaintiffs DR. ALAN J. BAUER and YEHONATHON BAUER suffered

severe physical, emotional, mental and economic harm and injuries as a direct and

proximate result of the March 21, 2002 bombing attack.

       83.     Plaintiffs REVITAL BAUER, BINYAMIN BAUER, DANIEL BAUER

and YEHUDA BAUER suffered severe emotional, mental and economic harm and

ittjuries as a direct and proximate result of the March 21, 2002 bombing attack.

       84.     The bombing attack on March 21, 2002 was planned and carried out by

defendants ABDEL A WEIS, SHAWISH, TIRAWI, AL-SHAYKH, SHEHADEH, SADI,

HASHAIKA and the JOHN DOE defendants acting as agents and employees ofthe PLO

and PA and within the scope of their agency and employment, pursuant to the prior



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authorization, instructions, solicitation and directives of defendants PLO and PA, in

furtherance of the goals and policies of defendants PLO and PA, and using funds,

weapons, means of transportation and communication and other material support and

resources supplied by defendants PLO and PA for the express purpose of carrying out this

attack and terrorist attacks of this type. Defendants PLO and PA conspired, agreed and

acted in concert with the other defendants to carry out the March 21, 2002 terrorist

bombing, aided and abetted the other defendants to carry out that bombing, and

authorized, ratified and participated in that bombing.

                             The Bombing Attack on June 19,2002

       85.     At an unknown date or dates prior to June 19, 2002, acting pursuant to the

authorization, instructions, solicitation and directives of defendants PLO, PA, ARAF AT

and MARWAN BARGHOUTI, and within the scope of their agency and employment,

defendants FARITACH and several of JOHN DOES 1-99 jointly planned, agreed,

conspired and made preparations to murder and injure innocent persons by means of a

bombing attack on innocent passersby in Jerusalem, Israel.

       86.     Accordingly, on June 19, 2002, at approximately 7:00 PM, two of the

JOHN DOE defendants arrived at a crowded bus stop at the French Hill intersection in

northern Jerusalem, in order to murder and injure innocent passersby by means of a

pr>werful explosive device with which they were provided for this specific purpose by the

other defendants. One of the JOHN DOE defendants detonated the explosive at

approximately 7:00PM, causing a massive explosion. The other JOHN DOE defendant

fled the scene of the bombing by car.




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        87.     Seven innocent persons were killed in the explosion and over 50 more

were wounded.

       88.     Plaintiff SHAUL MANDELKORN, then a minor, was present at the site

of the bombing and in close proximity to the bomber, and suffered severe bums, shrapnel

wounds and other serious injuries as a result of the explosion.

       89.     Plaintiff SHAUL MANDELKORN suffered severe physical, emotional,

mental and economic harm and injuries as a direct and proximate result of the June 19,

2002 bombing attack.

       90.     Plaintiffs   RABBI       LEONARD          MANDELKORN         and    NURIT

MANDELKORN suffered severe emotional, mental and economic harm and injuries as a

direct and proximate result of the June 19, 2002 bombing attack.

       91.     The bombing attack on June 19, 2002 was planned and carried out by

defendant FARITACH and the JOHN DOE defendants acting as agents and employees of

the PLO and PA and within the scope of their agency and employment, pursuant to the

prior authorization, instructions, solicitation and directives of defendants PLO and PA, in

furtherance of the goals and policies of defendants PLO and PA, and using funds,

weapons, means of transportation and communication and other material support and

resources supplied by defendants PLO and PA for the express purpose of carrying out this

attack and terrorist attacks of this type. Defendants PLO and PA conspired, agreed and

acted in concert with the other defendants to carry out the June 19, 2002 terrorist

bombing, aided and abetted the other defendants to carry out that bombing, and

authorized, ratified and participated in that bombing.




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                           FIRST COUNT
                     AGAINST ALL DEFENDANTS
    ON BEHALF OF PLAINTIFFS MARK I. SOKOLOW, RENA M. SOKOLOW,
     JAMIE A. SOKOLOW, LAUREN M. SOKOLOW, ELANA R. SOKOLOW,
      SHAYNA GOULD, RONALD GOULD, ELISE GOULD, JESSICA RINE,
     SHMUEL WALDMAN, HENNA WALDMAN, MORRIS WALDMAN, EVA
     WALDMAN, DR. ALAN J. BAUER, YEHONATHON BAUER, BINYAMIN
        BAUER, DANIEL BAUER, YEHUDA BAUER, RABBI LEONARD
                 MANDELKORN AND JOSEPH GUETTA
        INTERNATIONAL TERRORISM PURSUANT TO 18 U.S.C. §2333

         92.      The preceding paragraphs are incorporated by reference as though fully set

  forth herein.

          93.     Defendants' acts constitute a violation of the criminal laws of the United

  States and of the several States, or would constitute criminal violations if committed

 within the jurisdiction of the United States and of the several States. The actions of

  defendants violate, or if committed within U.S. jurisdiction would violate literally scores

  of federal and state criminal statutes prohibiting, inter alia and without limitation:

 homicide, battery, assault and the construction and use of explosive devices; as well as

 the criminal prohibitions against aiding and abetting, attempting, serving as an accessory

 to, solicitation of and conspiracy to commit these and other such felonies.

         94.      The acts of defendants described herein were performed pursuant to and as

 implementation of an established policy of utilizing terrorist attacks in order to achieve

•· their goals. Specifically, the acts of defendants described herein were intended to
    •
   terrorize, intimidate and coerce the civilian population in Israel into acquiescing to

 defendants' political goals and demands, and to influence the policy of the United States

 and Israeli governments in favor of accepting defendants' political goals and demands.

 Moreover, defendants, themselves and through their respective officials, representatives,




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spokesmen, communications media and other agents: (a) repeatedly admitted to

committing acts of terrorism and violence against the civilian population in Israel and the

West Bank and expressly stated that these acts were intended both to intimidate and

coerce that civilian population into acquiescing to defendants' political goals and

demands and to influence the policy of the United States and Israeli governments in favor

of defendants' political goals and demands, and (b) expressly threatened the further

occurrence of such terrorist acts if their political goals and demands were not achieved.

The acts of defendants described herein therefore appear to be and were in fact intended

to intimidate and coerce a civilian population, and to influence the policy of a government

by intimidation or coercion, within the meaning of 18 U.S.C. §2331.

          95.    Defendants' acts were dangerous to human life, by their nature and as

evidenced by their consequences.

          96.    Defendants' acts occurred outside the territorial jurisdiction of the United

States.

          97.    The acts of defendants are therefore "acts of international terrorism" as

defined under 18 U.S.C. §§2331 and 2333. The behavior of defendants also constitutes

aiding and abetting acts of international terrorism, and conspiracy to commit acts of

international terrorism.
 ..       98 .   As a direct and proximate result of the acts of international terrorism

committed by defendants, and which defendants aided and abetted and/or conspired to

commit, plaintiffs were caused severe injury, including: pain and suffering; pecuniary loss

and loss of income; loss of guidance, companionship and society; loss of consortium;

severe emotional distress and mental anguish; and loss of solatium.


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            99.     Defendants are therefore jointly and severally liable for the full amount of

    plaintiffs' damages in such sums as may hereinafter be determined.

            100.    Defendants' conduct was outrageous in the extreme, wanton, willful and

    malicious, and constitutes a threat to the public at large warranting an award of punitive

    damages.

                            SECOND COUNT
                       AGAINST ALL DEFENDANTS
      ON BEHALF OF PLAINTIFFS MARK I. SOKOLOW, RENA M. SOKOLOW,
     JAMIE A. SOKOLOW, LAUREN M. SOKOLOW, SHAYNA GOULD, SHMUEL
        WALDMAN, DR. ALAN J. BAUER, YEHONATHON BAUER, SHAUL
                   MANDELKORN AND JOSEPH GUETTA
                               BATTERY

            101.    The preceding paragraphs are incorporated by reference as though fully set

    forth herein.

            102.    The terrorist attacks described herein caused plaintiffs MARK I.

    SOKOLOW, RENA M.               SOKOLOW, JAMIE A.             SOKOLOW, LAUREN M.

    SOKOLOW, SHAYNA GOULD, SHMUEL WALDMAN, DR. ALAN J. BAUER,

    YEHONATHON BAUER, SHAUL MANDELKORN and JOSEPH GUETTA severe

    physical and psychological injuries, extreme pain and suffering, and severe financial loss,

    including deprivation of present and future income.

            103.    The terrorist attacks described herein constituted batteries on the persons

    <1f plaintiffs MARK I. SOKOLOW, RENA M. SOKOLOW, JAMIE A. SOKOLOW,

    LAUREN M. SOKOLOW, SHAYNA GOULD, SHMUEL W.M-DMAN, DR. ALAN J.

    BAUER, YEHONATHON BAUER, SHAUL MANDELKORN and JOSEPH GUETTA.

            104.    As a result of the severe injuries inflicted on them by the terrorist attacks

    described herein, plaintiffs MARK I. SOKOLOW, RENA M. SOKOLOW, JAMIE A.



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SOKOLOW, LAUREN M. SOKOLOW, SHAYNA GOULD, SHMUEL WALDMAN,

DR. ALAN J. BAUER, YEHONATHON BAUER, SHAUL MANDELKORN and

JOSEPH GUETTA required hospitalization, surgeries and other medical treatment.

       105.    Plaintiffs MARK I. SOKOLOW, RENA M. SOKOLOW, JAMIE A.

SOKOLOW, LAUREN M. SOKOLOW, SHAYNA GOULD, SHMUEL WALDMAN,

DR. ALAN J. BAUER, YEHONATHON BAUER, SHAUL MANDELKORN and

JOSEPH GUETTA continue to suffer from permanent injuries caused by the terrorist

attacks described herein.

       106.    Defendants' actions were willful, malicious, intentional, reckless, unlawful

and were the proximate cause of the terrorist attacks described herein and the batteries on

the persons of plaintiffs MARK I. SOKOLOW, RENA M. SOKOLOW, JAMIE A.

SOKOLOW, LAUREN M. SOKOLOW, SHAYNA GOULD, SHMUEL WALDMAN,

DR. ALAN J. BAUER, YEHONATHON BAUER, SHAUL MANDELKORN and

JOSEPH GUETTA and the injuries plaintiffs suffered thereby.

       107.    Defendants are therefore jointly and severally liable for the full amount of

plaintiffs' damages, in such sums as may hereinafter be determined.

       108.    Defendants' conduct was outrageous in the extreme, wanton, willful and

malicious, and constitutes a threat to the public warranting an award of punitive damages.




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                         THIRD COUNT
                   AGAINST ALL DEFENDANTS
  ON BEHALF OF PLAINTIFFS MARK I. SOKOLOW, RENA M. SOKOLOW,
 JAMIE A. SOKOLOW, LAUREN M. SOKOLOW, SHAYNA GOULD, SHMUEL
    WALDMAN, DR. ALAN J. BAUER, YEHONATHON BAUER, SHAUL
        MANDELKORN, VARDA GUETTA AND JOSEPH GUETTA
                           ASSAULT

        109.    The preceding paragraphs are incorporated by reference as though fully set

forth herein.

        110.    The terrorist attacks described herein and the ensuing carnage caused

plaintiffs MARK I. SOKOLOW, RENA M. SOKOLOW, JAMIE A. SOKOLOW,

LAUREN M. SOKOLOW, SHAYNA GOULD, SHMUEL WALDMAN, DR. ALAN J.

BAUER, YEHONATHON BAUER, SHAUL MANDELKORN, V ARDA GUETTA and

JOSEPH GUETTA fear and apprehension ofharm and death and/or actual physical harm,

and constituted assaults on the persons of these plaintiffs.

        111.    The terrorist attacks described herein and assaults on their persons, which

were direct and proximate results of defendants' actions, caused plaintiffs MARK I.

SOKOLOW,        RENA M.        SOKOLOW, JAMIE A.               SOKOLOW, LAUREN M.

SOKOLOW, SHAYNA GOULD, SHMUEL WALDMAN, DR. ALAN J. BAUER,

YEHONATHON BAUER, SHAUL MANDELKORN, VARDA GUETTA and JOSEPH

GUETTA extreme mental anguish and/or actual physical injury and pain and suffering.

        112.    Defendants are therefore jointly and severally liable for the full amount of

plaintiffs' damages, in such sums as may hereinafter be determined.

       113.     Defendants' conduct was outrageous in the extreme, wanton, willful and

malicious, and constitutes a threat to the public warranting an award of punitive damages.




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                                  FOURTH COUNT
                             AGAINST ALL DEFENDANTS
                           ON BEHALF OF ALL PLAINTIFFS
                        LOSS OF CONSORTIUM AND SOLATIUM

         114.      The preceding paragraphs are incorporated by reference as though fully set

 forth herein.

         115.      As a result and by reason of the injuries caused to them by the actions of

 defendants described herein, plaintiffs MARK I. SOKOLOW, RENA M. SOKOLOW,

 JAMIE A. SOKOLOW and LAUREN M. SOKOLOW were deprived of the services,

 society, company and consortium of one another and ofplaintiffELANA R. SOKOLOW,

 and have suffered and will continue to suffer severe mental anguish, grief, and injury to

 their feelings.

         116.      As a result and by reason of the injuries caused to plaintiffs MARK I.

 SOKOLOW, RENA M. SOKOLOW, JAMIE A. SOKOLOW and LAUREN M.

 SOKOLOW by the actions of defendants described herein, plaintiff ELANA R.

 SOKOLOW was deprived of the services, society, company and consortium of her

 parents and siblings, and has suffered and will continue to suffer severe mental anguish,

 grief, and injury to her feelings.

         117.      As a result and by reason of the injuries caused to her by the actions of

•· defendants described herein, plaintiff SHAYNA GOULD was deprived of the services,

 society, company and consortium of her parents plaintiffs RONALD GOULD and ELISE

 GOULD and her sister plaintiff JESSICA RINE, and has suffered and will continue to

 suffer severe mental anguish, grief, and injury to her feelings.




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        118.     As a result and by reason of the injuries caused to plaintiff SHAYNA

GOULD by the actions of defendants described herein, plaintiffs RONALD GOULD,

ELISE GOULD and JESSICA RINE were deprived of the services, society, company and

consortium of their daughter and sister, and have suffered and will continue to suffer

severe mental anguish, grief, and injury to their feelings.

        119.     As a result and by reason of the injuries caused to him by the actions of

defendants described herein, plaintiff SHMUEL WALDMAN was deprived of the

services, society, company and consortium of his wife plaintiff HENNA WALDMAN

and his parents plaintiffs MORRIS WALDMAN and EVA WALDMAN, and has

suffered and will continue to suffer severe mental anguish, grief, and injury to his

feelings.

        120.    As a result and by reason of the injuries caused to plaintiff SHMUEL

WALDMAN by the actions of defendants described herein, plaintiffs HENNA

WALDMAN, MORRIS WALDMAN and EVA WALDMAN were deprived of the

services, society, company and consortium of their husband and son, and have suffered

and will continue to suffer severe mental anguish, grief, and injury to their feelings.

        121.    As a result and by reason of the injuries caused to them by the actions of

defendants described herein, plaintiffs DR. ALAN J. BAUER and YEHONATHON

BAUER were deprived of the services, society, company and consortium of one another

and of plaintiffs REVITAL BAUER, BINYAMIN BAUER, DANIEL BAUER and

YEHUDA BAUER, and have suffered and will continue to suffer severe mental anguish,

grief, and injury to their feelings.




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        122.   As a result and by reason of the injuries caused to plaintiffs DR. ALAN J.

BAUER and YEHONATHON BAUER by the actions of defendants described herein,

plaintiffs REVITAL BAUER, BINYAMIN BAUER, DANIEL BAUER and YEHUDA

BAUER were deprived of the services, society, company and consortium of plaintiffs

DR. ALAN J. BAUER and YEHONATHON BAUER and have suffered and will

continue to suffer severe mental anguish, grief, and injury to their feelings.

        123.   As a result and by reason of the injuries caused to him by the actions of

defendants described herein, plaintiff SHAUL MANDELKORN was deprived of the

services, society, company and consortium of his parents plaintiffs RABBI LEONARD

MANDELKORN and NURIT MANDELKORN, and has suffered and will continue to

suffer severe mental anguish, grief, and injury to his feelings.

        124.   As a result and by reason of the injuries caused to plaintiff SHAUL

MANDELKORN by the actions of defendants described herein, plaintiffs RABBI

LEONARD MANDELKORN and NURIT MANDELKORN were deprived of the

services, society, company and consortium of their son, and have suffered and will

continue to suffer severe mental anguish, grief, and injury to their feelings.

        125.   As a result and by reason of the injuries caused to him by the actions of

defendants described herein, plaintiff JOSEPH GUETTA was deprived of the services,

st>ciety, company and consortium of his mother plaintiff VARDA GUETTA, and has

suffered and will continue to suffer severe mental anguish, grief, and injury to his

feelings.

        126.   As a result and by reason of the injuries caused to plaintiff JOSEPH

GUETTA by the actions of defendants described herein, plaintiff VARDA GUETTA was



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  deprived of the services, society, company and consortium of her son, and has suffered

  and will continue to suffer severe mental anguish, grief, and injury to her feelings.

          127.    Defendants are therefore jointly and severally liable for the full amount of

  plaintiffs' damages, in such sums as may hereinafter be determined.

          128.    Defendants' conduct was outrageous in the extreme, wanton, willful and

  malicious, and constitutes a threat to the public at large warranting an award of punitive

  damages.

                                    FIFTH COUNT
                              AGAINST ALL DEFENDANTS
                             ON BEHALF OF ALL PLAINTIFFS
                                    NEGLIGENCE

          129.    The preceding paragraphs are incorporated by reference as though fully set

  forth herein.

          130.    Defendants, personally and/or through their agents and/or employees

  and/or co-conspirators, willfully and deliberately and/or wantonly and/or negligently

  authorized, organized, planned, provided material support for and executed the terrorist

  attacks that harmed the plaintiffs.

          131.    Defendants had legal duties under local and other applicable law to desist

  from engaging in, or authorizing and encouraging, acts of violence, and to refrain from

•· deliberately and/or wantonly, and/or negligently authorizing or causing the infliction of
   •
  injuries to persons such as the plaintiffs herein.

          132.    Defendants' behavior constituted a breach ofthese legal duties.




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          133.    Defendants foresaw, or should have reasonably foreseen, that their breach

  of these legal duties would create unreasonable risk of injuries such as those suffered by

  the plaintiffs to persons such as the plaintiffs.

          134.    As a result of defendants' wrongful and/or unlawful and/or negligent acts,

  plaintiffs were caused severe injury, including: pain and suffering; pecuniary loss and loss

  of income; loss of guidance, society and companionship; loss of consortium; severe

  emotional distress and mental anguish; and loss of solatium.

          135.    Defendants are therefore jointly and severally liable for the full amount of

  plaintiffs' damages, in such sums as may hereinafter be determined.

          136.    Defendants' conduct was outrageous in the extreme, wanton, willful and

  malicious, and constitutes a threat to the public at large warranting an award of punitive

  damages.

                              SIXTH COUNT
                        AGAINST ALL DEFENDANTS
                       ON BEHALF OF ALL PLAINTIFFS
              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

          13 7.   The allegations set forth in the preceding paragraphs are incorporated by

  reference as though fully set forth herein.

          138.    Defendants' conduct was willful, outrageous, and was dangerous to human

•· life, and constituted a violation of applicable criminal law and all international standards

  of civilized human conduct and common decency.

          139.    Defendants' conduct was intended to and did in fact terrorize the plaintiffs

  and cause them. egregious emotional distress.

          140.    Defendants are therefore jointly and severally liable for the full amount of




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plaintiffs' damages, in such sums as may hereinafter be determined.

        141.    Defendants' conduct was outrageous in the extreme, wanton, willful and

malicious, and constitutes a threat to the public at large warranting an award of punitive

damages.

                             SEVENTH COUNT
                        AGAINST ALL DEFENDANTS
                      ON BEHALF OF ALL PLAINTIFFS
               NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

        142.    The allegations set forth in the preceding paragraphs are incorporated by

reference as though fully set forth herein.

        143.    Defendants' conduct was willful, outrageous and/or grossly negligent, and

was dangerous to human life, and constituted a violation of applicable criminal law and

all international standards of civilized human conduct and common decency.

        144.    Defendants' conduct caused the plaintiffs egregious emotional distress.

        145.    Defendants are therefore jointly and severally liable for the full amount of

plaintiffs' damages, in such sums as may hereinafter be determined.

        146.    Defendants' conduct was outrageous in the extreme, wanton, willful and

malicious, and constitutes a threat to the public at large warranting an award of punitive

damages.

                                 EIGHTH COUNT
                            AGAINST ALL DEFENDANTS
                          ON BEHALF OF ALL PLAINTIFFS
                               CIVIL CONSPIRACY


        147.   _The allegations set forth in the preceding paragraphs are incorporated by

reference as though fully set forth herein.




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             148.   Defendants knowingly and willingly conspired, agreed and acted in

      concert with each other in a common plan and design to facilitate and cause acts of

     terrorism including the terrorist attacks in which plaintiffs were harmed.

             149.   As a result of the terrorist attacks caused, resulting from and facilitated by

      defendants' conspiracy, plaintiffs suffered the damages enumerated herein.

             150.   Defendants are therefore jointly and severally liable for the full amount of

     plaintiffs' damages, in such sums as may hereinafter be determined.

             151.   Defendants' conduct was outrageous in the extreme, wanton, willful and

     malicious, and constitutes a threat to the public at large warranting an award of punitive

      damages.

                                       NINTH COUNT
                                AGAINST ALL DEFENDANTS
                               ON BEHALF OF ALL PLAINTIFFS
                                   AIDING AND ABETTING

             152.   The allegations set forth in the preceding paragraphs are incorporated by

     reference as though fully set forth herein.

             153.   Defendants     provided    one      another,   and   their   organs,   agencies,

     instrumentalities, officials, agents and employees, with material support and resources

     and other substantial aid and assistance, in order to aid, abet, facilitate and cause the

    •· commission of acts of terrorism including the terrorist attacks in which plaintiffs were

     harmed.

             154.   As a result of the terrorist attacks caused, resulting from and facilitated by

     defendants' provision of material support and resources and other acts of aiding and

     abetting, plaintiffs suffered the damages enumerated herein.




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                               155.   Defendants are therefore jointly and severally liable for the full amount of

                       plaintiffs' damages, in such sums as may hereinafter be determined.

                               156.   Defendants' conduct was outrageous in the extreme, wanton, willful and

                       malicious, and constitutes a threat to the public at large warranting an award of punitive

                       damages.

                                                     TENTH COUNT
                                            AGAINST DEFENDANTS PLO AND PA
                                             ON BEHALF OF ALL PLAINTIFFS
                                       VICARIOUS LIABILITY/RESPONDEAT SUPERIOR


                               157.   The allegations set forth in the preceding paragraphs are incorporated by

                       reference as though fully set forth herein.

                               158.   At all relevant times, defendants ARAFAT, MARWAN BARGHOUTI,

                       AHMED BARGHOUTI, NASSER A WEIS, AL-MASRI, AL-TITI, MASALAH,

                       GHANEM, ABDULLAH, RAMADAN, ABDEL A WEIS, SHAWISH, TIRAWI, AL-

                       SHAYKH, SHEHADEH, SADI, HASHAIKA, NOOR, IDRIS, FARITACH, ABU

                       HALAWA and JOHN DOES 1-99 were agents and/or officers and/or employees and/or

                       organs and/or agencies and/or instrumentalities of defendants PLO and P A, and engaged

                       in the actions described herein within the scope of their agency, office and employment

                       and in furtherance of the interests of defendants PLO and P A.
                       ..      159.   Defendants PLO and PA authorized, ratified and/or condoned the actions

                       described herein of defendants ARAFAT, MARWAN BAR.GHOUTI, AHMED

                       BARGHOUTI, NASSER A WEIS, AL-MASRI, AL-TITI, MASALAH, GHANEM,

                       ABDULLAH, RAMADAN, ABDEL A WEIS, SHAWISH, TIRAWI, AL-SHAYKH,

                       SHEHADEH, SADI, HASHAIKA, NOOR, IDRIS, FARITACH, ABU HALAWA and



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                JOHNDOES 1-99.

                         160.   Therefore, defendants PLO and PA are vicariously liable for the acts of

                defendants ARAFAT, MARWAN BARGHOUTI, AHMED BARGHOUTI, NASSER

                AWEIS, AL-MASRI, AL-TITI, MASALAH, GHANEM, ABDULLAH, RAMADAN,

                ABDEL       A WEIS,    SHAWISH,       TIRAWI,     AL-SHAYKH,        SHEHADEH,        SADI,

                HASHAIKA, NOOR, IDRIS, FARITACH, ABU HALAWA and JOHN DOES 1-99.

                        161.    Defendants are therefore jointly and severally liable for the full amount of

                plaintiffs' damages, in such sums as may hereinafter be determined.

                        162.    Defendants' conduct was outrageous in the extreme, wanton, willful and

                malicious, and constitutes a threat to the public at large warranting an award of punitive

                damages.

                                             ELEVENTH COUNT
                                       AGAINST DEFENDANTS PLO AND PA
                                        ON BEHALF OF ALL PLAINTIFFS
                                                INDUCEMENT

                        163.    The preceding paragraphs are incorporated by reference as though fully set

                forth herein.

                        164.    Defendants PLO and PA offered and provided their own and each other's

               officials, agents and employees, including the other defendants herein, with substantial

                ..
              •· material and pecuniary inducements and incentives to plan, organize and execute acts of

               international terrorism, including the terrorist attacks in which plaintiffs were harmed.
                                                                    -
               Defendants PLO and PA did so knowing that the acts for which they provided

               inducements and incentives were illegal and/or tortious, and that they would have been

               directly liable had they performed those acts themselves.




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              165.    As a result of the terrorist attacks caused, resulting from and facilitated by

       the substantial material and pecuniary inducements and incentives offered and provided

       by defendants PLO and PA, plaintiffs suffered the damages enumerated herein.

              166.    Defendants are therefore jointly and severally liable for the full amount of

       plaintiffs' damages, in such sums as may hereinafter be determined.

              167.    Defendants' conduct was outrageous in the extreme, wanton, willful and

       malicious, and constitutes a threat to the public at large warranting an award of punitive

       damages.

              WHEREFORE, plaintiffs demand judgment against the defendants jointly and

       severally, as to each ofthe above counts and causes of action, as follows:

              A.      Compensatory damages against all defendants, jointly and severally, in the

       amount of $500,000,000.00 (FIVE HUNDRED MILLION DOLLARS);

              B.      Treble damages, costs and attorneys fees as provided in 18 U.S. C. §2333;

              C.      Punitive damages;

              D.      Reasonable costs and expenses;

              E.      Reasonable attorneys' fees;

              and,

              F.      Such further relief as the Court finds just and equitable.




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                                                         JURY DEMAND

                           Plaintiffs hereby demand a trial by jury on all issues so triable.

                    Dated: January 15, 2004




                                                                              By:              "0:>1'- C:LjJ .... ..c
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